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                                      UNITED STATES DISTRJCT COURT
                                       SOUTHERN DISTRJCT OF TEXAS
                                         CORPUS CHRJSTI DIVISION

CASE NO. CA-C-11-84                              )(
                                                 )(
M.D., by her next friend, Sarah R.               )(       Judge Janis Graham Jack
                                                 )(
Stukenberg, et al.,                              )( Courtroom Deputy Lori Cayce
                                                 )(
vs.                                              )( ERO Jared Marks
                                                 )(
GREG ABBOTT, in his official capacity            )( Proceeding: Status Conference
                                                 )(
as Governor of the State of Texas, et al.        )( Date: June 27, 2023
                                                 )(
                                                 )( Exhibit List of:       COURT
                                                 )(
                                                 )(
Exhibit                                                                               Not
no.     Description                 Marked      Offered        Objection   Admitted   Admitted
        List of DFPS and HHSC        X            X                         6/27/23
1
        Commissioners
        Defendants' Attorneys to     X                X                     6/27/23
2
        Date
        Operations that Moved to     X                X                     6/27/23
3
        PPM as of 3/ 1/23
        Operations that Completed    X                X                     6/27/23
4       Heightened Monitoring as of
        3/ 1/23
        Email to monitors from       X                X                     6/27/23
5
        Chisom dated 6/5/23
        Heightened Monitoring
        Compliance Considerations,
6       Stage Progression, and       X                X            X        6/27/23
        Extension Framework (8
        pages)
        Figure 80: Info Included in
        Heightened Monitoring
        Placement Request for
        Approved Placements of        X               X                     6/27/23
7
        PMC Children at
        Heightened Monitoring
        Operations, Calendar Year .
        2022
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                         COURT'S EXHIBIT                  1
                           DFPS Commissioners
            ame                              Year Appointed

    Anne Heiligenstein                            2011
                                 Oct. 2011-Appointed interim Commissioner
     Howard Baldwin                  Jan. 2012-appointed Commissioner
                                            Nov. 2012-Resigned
       John Specia                                2012

     Henry Whitman                                2016

      Jaime Masters                               2019

        Kez Wold                 Nov. 2022-appointed interim Commissioner

      Stephanie Muth                              2023




                           HHSC Commissioners
          Name                               Year Appointed

        Tom Suehs                                 2011

        Kyle Janek                                2012

       Chris Traylor                              2015

      Charles Smith                               2016

     Tommy Williams              May 2018-appointed interim Commissioner

     Courtney Phillips                            2018

       Phil Wilson                 2020---appointed Acting Commissioner

    Cecile Erwin Young                            2020
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                                     COURT'S EXHIBIT J_
                                                            -
                                 DEFENDANTS' ATTORNEYS TO DATE

Allyson N. Ho, Gibson, Dunn & Crutcher
Savannah Catherine Silver, Gibson, Dunn & Crutcher
Prerak Shah, Gibson, Dunn & Crutcher

James Patrick Sullivan, Office of the Governor of Texas

Office of the Attorney General of the State of Texas
       Thomas A. Albright
       Zachary William Berg
       Reynolds Brissenden
       Shawn Cowles
         athaniel Danko
       Todd Lawrence Disher
       Grant Dorfman
       James B. Eccles
       Elizabeth J. Brown Fore
       Kimberly Gdula
       Darren Glenn Gibson
       Christopher D. Hilton
       Kara Holsinger
       Eric Alan Hudson
       Joseph D. Hughes
       Eugenia LaFontaine Krieg
       Paul B . Moore
       Karl E. Neudorfer
       Eveanna Odean
       Leif Olson
       Ken Paxton
       Noah Reinstein
       Marc Rietvelt
       Robert Salmon
       John Scott, Provisional Attorney General
       Laura A. Smith
       Andrew Bowman Stephens
       Patrick K. Sweeten
       William Thomas Thompson
       James C. Todd
       Clayton R. Watkins
       Brent Webster
       Raymond Charles Winter
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COURT'S EXHIBIT                                          J
                  OPERATIONS THAT MOVED TO PPM AS OF 3/1/2023

 A Pathway to New Beginnings, LLC
    • Number of ANE investigations opened:                                                   6
    • Number of high-weighted deficiencies cited:                                            0
    • Number of medium-high-weighted deficiencies cited:                                     1
    • Number of medium-weighted deficiencies cited:                                          1

 City of Hope Missions, dba Heartsway
    • Number of ANE investigations opened:                                                  24
    • Number of high-weighted deficiencies cited:                                            2
    • Number of medium-high-weighted deficiencies cited:                                     4
    • Number of medium-weighted deficiencies cited:                                          4

 El Paso Center for Children
    • Number of ANE investigations opened:                                                  16
    • Number of high-weighted deficiencies cited:                                            0
    • Number of medium-high-weighted deficiencies cited:                                     1
    • Number of medium-weighted deficiencies cited:                                          0

 Family Link Treatment Services, CPA
   • Number of ANE investigations opened:                                                    7
   • Number of high-weighted deficiencies cited:                                             4
   • Number of medium-high-weighted deficiencies cited:                                      1
   • Number of medium-weighted deficiencies cited:                                           0

    •   Family Link Treatment Services had one open investigation at the time it transitioned to
        post-plan monitoring. It did not result in a substantiated finding.

 Fred & Mabel R. Parks Youth Ranch
    • Number of ANE investigations opened:                                                   2
    • Number of high-weighted deficiencies cited:                                            0
    • Number of medium-high-weighted deficiencies cited:                                     1
    • Number of medium-weighted deficiencies cited:                                          0

 Hands of Healing
   • Number of ANE investigations opened:                                                    8
   • Number of high-weighted deficiencies cited:                                             1
   • Number of medium-high-weighted deficiencies cited:                                      3
   • Number of medium-weighted deficiencies cited:                                           2
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Have   Haven Child Placement Agency
  •     Number of ANE investigations opened:                                                  12
  •     Number of high-weighted deficiencies cited:                                            1
  •     Number of medium-high-weighted deficiencies cited:                                     0
  •     Number of medium-weighted deficiencies cited :                                         0


High   Plains Children's Home
   •    Number of ANE investigations opened:                                                  12
   •    Number of high-weighted deficiencies cited:                                            2
   •    Number of medium-high-weighted deficiencies cited:                                     5
   •    Number of medium-weighted deficiencies cited:                                          0

L' Amor Village RTC
    • Number of ANE investigations opened:                                                     4
    • Number of high-weighted deficiencies cited:                                              1
    • Number of medium-high-weighted deficiencies cited:                                       0
    • Number of medium-weighted deficiencies cited:                                            0

Sweeten Home for Children
  • Number of ANE investigations opened:                                                      32
  • Number of high-weighted deficiencies cited:                                                2
  • Number of medium-high-weighted deficiencies cited:                                         3
  • Number of medium-weighted deficiencies cited:                                              3

   •    Sweeten Home for Children received a R TB finding for Exploitation on November 22,
        2022, less than a month before moving to post-plan monitoring. A staff member was found
        to have exploited a child by using him to make illegal purchases of vape pens and other
        illegal substances. The staff member also asked the child to sell pills for him. The staff
        member told the child they were "going to make money off the high school by moving
        pills." The operation moved to post-plan monitoring on December 14, 2022.

The Gladney Center for Adoption
   • Number of ANE investigations opened:                                                      0
   • Number of high-weighted deficiencies cited:                                               3
   • Number of medium-high-weighted deficiencies cited:                                        2
   • Number of medium-weighted deficiencies cited:                                             3

The Settlement Home Club
   • Number of ANE investigations opened:                                                     18
   • Number of high-weighted deficiencies cited:                                               1
   • Number of medium-high-weighted deficiencies cited:                                       13
   • Number of medium-weighted deficiencies cited:                                             3




                                                  2
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J



    COURT'S EXHIBIT _l.
      OPERATIONS THAT COMPLETED HEIGHTENED MONITORING AS OF 3/1/2023


     Archangel Foster & Adoption Services Child Placement Agency
        • Number of ANE investigations opened:                                                   2
        • Number of high-weighted deficiencies cited:                                            0
        • Number of medium-high-weighted deficiencies cited:                                     1
        • Number of medium-weighted deficiencies cited:                                          0

     Ascension Child and Family Services
        • Number of ANE investigations opened:                                                  14
        • Number of high-weighted deficiencies cited:                                            3
        • Number of medium-high-weighted deficiencies cited:                                     2
        • Number of medium-weighted deficiencies cited:                                          2

     Assuring Love Child Placement
        • Number of ANE investigations opened:                                                  10
        • Number of high-weighted deficiencies cited :                                           0
        • Number of medium-high-weighted deficiencies cited:                                     0
        • Number of medium-weighted deficiencies cited :                                         0

        •   Assuring Love Child Placement had six open investigations at the time it transitioned to
            post-plan monitoring. one of these resulted in a substantiated finding.

     Azleway Valley View
        • Number of ANE investigations opened:                                                   7
        • Number of high-weighted deficiencies cited:                                            0
        • Number of medium-high-weighted deficiencies cited:                                     0
        • Number of medium-weighted deficiencies cited:                                          1

     Bridge Emergency Shelter
        • Number of ANE investigations opened:                                                   0
        • Number of high-weighted deficiencies cited:                                            0
        • Number of medium-high-weighted deficiencies cited:                                     1
        • Number of medium-weighted deficiencies cited:                                          0

     Caregivers Youth & Transitional Living Services
        • Number of ANE investigations opened:                                                  17
        • Number of high-weighted deficiencies cited:                                            1
        • Number of medium-high-weighted deficiencies cited:                                     2
        • Number of medium-weighted deficiencies cited:                                          0
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Connections
  • Number of ANE investigations opened:                               14
  • Number of high-weighted deficiencies cited:                         0
  • Number of medium-high-weighted deficiencies cited:                 0
  • Number of medium-weighted deficiencies cited:                       1

Connections Individual & Family Services, Inc.
  • Number of ANE investigations opened:                                1
  • Number of high-weighted deficiencies cited:                         0
  • Number of medium-high-weighted deficiencies cited:                  1
  • Number of medium-weighted deficiencies cited:                      2

Embracing Destiny Foundation RTC
  • Number of ANE investigations opened:                                2
  • Number of high-weighted deficiencies cited:                        0
  • Number of medium-high-weighted deficiencies cited:                 0
  • Number of medium-weighted deficiencies cited:                      0

Family Link Treatment Services, Inc.
  • Number of ANE investigations opened:                                9
  • Number of high-weighted deficiencies cited:                         0
  • Number of medium-high-weighted deficiencies cited:                  0
  • Number of medium-weighted deficiencies cited:                       0

Harmony Family Services, Inc. Emergency Shelter
  • Number of ANE investigations opened:                                0
  • Number of high-weighted deficiencies cited:                         0
  • Number of medium-high-weighted deficiencies cited:                  1
  • Number of medium-weighted deficiencies cited:                       0

Heart   to Heart Family Services
  •      Number of ANE investigations opened:                           7
  •      Number of high-weighted deficiencies cited:                       1
  •      Number of medium-high-weighted deficiencies cited:             0
  •      Number of medium-weighted deficiencies cited:                     1

House of Shiloh Family Services
  • Number of ANE investigations opened:                                4
  • Number of high-weighted deficiencies cited:                         2
  • Number of medium-high-weighted deficiencies cited:                  0
  • Number of medium-weighted deficiencies cited:                       0




                                                2
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"



    Lighthouse Family Network
       • Number of ANE investigations opened:                                                   4
       • Number of high-weighted deficiencies cited:                                            2
       • Number of medium-high-weighted deficiencies cited:                                     1
       • Number of medium-weighted deficiencies cited:                                          1

    Mission Road Developmental Center
       • Number of ANE investigations opened:                                                   3
       • Number of high-weighted deficiencies cited:                                            0
       • Number of medium-high-weighted deficiencies cited:                                     0
       • Number of medium-weighted deficiencies cited:                                          0

       •   Mission Road Developmental Center had three open investigations at the time it
           transitioned to post-plan monitoring. None of these resulted in a substantiated finding.

    New Horizons Child Placement Agency
      • Number of ANE investigations opened:                                                    7
      • Number of high-weighted deficiencies cited:                                             0
      • Number of medium-high-weighted deficiencies cited:                                      0
      • Number of medium-weighted deficiencies cited:                                           0

    Nothing Just Happens, Inc.
       • Number of ANE investigations opened:                                                   2
       • Number of high-weighted deficiencies cited:                                            0
       • Number of medium-high-weighted deficiencies cited:                                     1
       • Number of medium-weighted deficiencies cited:                                          0

    Pathways Youth & Family Services, Inc. dba Habilitative Homes
       • Number of ANE investigations opened:                                                   0
       • Number of high-weighted deficiencies cited:                                            0
       • Number of medium-high-weighted deficiencies cited:                                     0
       • Number of medium-weighted deficiencies cited:                                          1

    Pathways Youth Family Services-3H Youth Ranch
       • Number of ANE investigations opened:                                                   3
       • Number of high-weighted deficiencies cited:                                            1
       • Number of medium-high-weighted deficiencies cited:                                     1
       • Number of medium-weighted deficiencies cited:                                          1




                                                    3
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Renewed Strength Inc.
   • Number of ANE investigations opened:                              25
   • Number of high-weighted deficiencies cited:                        0
   • Number of medium-high-weighted deficiencies cited:                 1
   • Number of medium-weighted deficiencies cited:                      0

Road   to Wisdom
   •    Number of ANE investigations opened:                           12
   •    Number of high-weighted deficiencies cited:                     0
   •    Number of medium-high-weighted deficiencies cited:              0
   •    Number of medium-weighted deficiencies cited:                   0

Sunny Glen Child ren's Home
   • Number of ANE investigations opened:                               0
   • Number of high-weighted deficiencies cited:                        0
   • Number of medium-high-weighted deficiencies cited:                 1
   • Number of medium-weighted deficiencies cited:                      0

The Child ren's Home of Lubbock
   • Number of ANE investigations opened:                              16
   • Number of high-weighted deficiencies cited:                        0
   • Number of medium-high-weighted deficiencies cited:                 0
   • Number of medium-weighted deficiencies cited:                      1

Turning Point Child Social Services
  • Number of ANE investigations opened:                               12
  • Number of high-weighted deficiencies cited:                         0
  • Number of medium-high-weighted deficiencies cited:                  0
  • Number of medium-weighted deficiencies cited:                       2




                                               4
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          To: Kevin & 9 more ...                       >                      <#
                                              ~ l(P3          ~xffe/ft/r_s

RE: Resend-FW: Request
Joint Meeting with DFPS/
HHSC for Heightened
Monitoring Discussion

Kevin and Deborah,

Regarding the documents we shared with
you on May 15th, please note that DFPS
and HHSC are planning to move forward
with the use of these two documents by
Friday, June 9, 2023. If you have any
thoughts you would like to share in
advance of that date, we welcome those .

Thank you .


Ora M. Chisom, MBA, PMP
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                          COMMUNITY OF INTEREST PRIVILEGED COMMUNICATIONS




COURT'S EXHIBIT_ (p
                  Heightened Mon itoring Com pl iance Con siderations,
                       Stage Progre ssion, and Extension Framew ork


  In the class-action foster care lawsuit, M.D. et al v. Abbott, a federal court has ordered the Health
  and Human Services Commission (HHSC) and the Texas Department of Family and Protective
  Services (DFPS) in Remedial Order 20 1 to "identify, track, and address concerns at facilities that
  show a pattern of contract or standard violations." On March 18, 2020, the Court signed an order
  adopting definitions applicable to the Heightened Monitoring requirements of Remedial Order
  20.

  HHSC and DFPS are committed to ensuring child safety and share an ongoing commitment to
  compliance with all court orders, including Remedial Order 20. Below are details of the
  framework HHSC and DFPS have developed to implement and comply with the court's order on
  Heightened Monitoring. The explanations include frequently asked questions and answers
  explaining how the agencies are administering HM in accordance with the applicable court-
  ordered requirements.


                                         Heightened M onitoring Stages


  1. What is a heightened monitoring (HM) episode?

          A heightened monitoring (HM) episode consists of three stages and begins the day an
          operation is placed on HM. The episode ends the day the operation is removed from
          HM .

          As illustrated in the CLASS system 2, the HM episode consists of three distinct stages,
          regardless of the duration of each stage:

          •    Pre-plan Development Stage - begins the date the operation is placed on HM and
               ends the date the operation receives its approved HM plan. An operation's HM
               plan is based on the trends and patterns identified following a five-year
               retrospective analysis of an operation's CCR licensing and RCC contract violations.
               The identification of trends and patterns, HM plan development, and the review of
               the HM plan with the provider are completed within 30 days of HM notification.



  1 As referenced in the Court's Final Order entered on January 19, 2018, (D .E. 559), and the Court's Order entered
  on November 20, 2018, (D.E. 606).
  2 The heightened monitoring plan, unannounced visits associated with the plan, and progress toward meeting the

  plan must all be documented in CLASS.
  DFPS/HHSC                                                1                                    Compliance Definitions
                                                                                                 Extensions Framework
                                                                                                    Revised 04 .03.2023
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                        COMMUNITY OF INTEREST PRIVILEGED COMMUNICATIONS



       •      Plan in Effect Stage - begins the date the operation receives its HM plan and
              remains in effect until the operation is authorized to move to Post-plan Monitoring
              based on the operation meeting the following criteria:

                  ✓ the HM plan was in place for at least one year;
                  ✓ the operation has satisfied the conditions of its HM plan;
                  ✓ the operation is in compliance with the standards and contract requirements
                    that led to HM (as demonstrated by at least six months' successive
                    unannounced visits); and
                  ✓ the operation is not out of compliance with any medium-high or high (MH/H)
                    weighted licensing standards.

       •      Post-plan Monitoring (PPM) Stage - begins the date the operation is released from
              the HM plan and ends the date the operation is removed from HM . During the PPM
              stage, HHSC and DFPS will coordinate to make at least three unannounced visits in
              the three months following the release from the plan, and intake data for the
              operation will be tracked for at least six months to ensure the operation does not
              lose progress made.


            Court Order Requirement #1: "the operation satisfies the conditions of the p/ann

1. What is required of an operation to "satisfy the conditions of the plan"?

       The operation has satisfied the conditions of the HM plan when the operation has
       successfully implemented the requirements of all tasks, as assessed by DFPS and HHSC.
       The evaluation of the tasks (known as "testing") shows the operation is substantially
       meeting those requirements. Task testing is completed by CCR and RCC during HM
       unannounced visits. Each task requirement and method for testing is individualized, as
       necessary, to address an operation's identified trends and patterns. For example, if a
       task addressed compliance with foster home screening requirements, home screenings
       would be reviewed.


       An evaluation is completed to assess whether an operation has satisfied the conditions
       and achieved substantial compliance with the tasks set forth in the HM plan once the
       operation has met six successive months of compliance with the standards and
       contracts requirements that led to HM (see Court Order Requirement #2, below) and
       the operation has been on HM for at least one year. Consideration of the following
       questions is part of that review:


               Has the operation implemented the requirements in the HM plan?


DFPS/HHSC                                          2                               Compliance Definitions
                                                                                   Extensions Framework
                                                                                      Revised 04.03.2023
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                           COMMUNITY Of INTEREST PRIVILEGED COMMUNICATIONS



                If the operation experienced delays with implementation, did the operation
                complete the HM tasks in a reasonable timeframe?
                If the operation faced challenges with consistent implementation of HM plan tasks,
                did the operation make overall progress and demonstrate that children are safe,
                risks are reduced, and that there is appropriate internal oversight of the operation?


              Court Order Requirement #2: "at least six months' successive unannounced
                 visits indicate the operation is in compliance with the standards and
                       contract requirements that Jed to heightened monitoring;''

1. How does the HM Team identify the "standards and contract requirements that led to
      HM"?

           An operation's eligibility for HM is initially determined by evaluating the number of
           violations (including minimum standards citations, violations of contract requirements,
           and confirmed findings of abuse and neglect) 3 in the operation's five-year retrospective
           analysis. These violations are then analyzed and organized into categories which are
           used to identify the patterns and trends representing the specific areas of concern that
           "led to heightened monitoring".

2. How and when is a determination made of whether an operation is "in compliance" for
   the purposes of this court order requirement?

           When an operation has been on HM for at least one year, an evaluation is conducted to
           determine whether the operation has substantially complied with the HM plan. This
           includes a review of whether the operation has achieved six successive months of
           compliance with minimum standards and contract requirements in the pattern/trend
           areas that led to HM.

           Each violation the operation receives while on HM is evaluated to determine whether it
           falls under the pattern/trend areas. To demonstrate compliance for the purposes of this
           court order requirement, an operation must not be found to have any violations in
           pattern/trend areas for the duration of a period of six successive months.

3. Are violations identified during HM visits the only violations considered when
   determining an operation's compliance for the purposes of this court order requirement?

           No -Any and all violations identified by Child Care Regulation (CCR), Residential Child
           Care Contracts (RCC), and Single Source Continuum Contractors (SSCC) are considered.



3
    Confirmed findings of abuse and neglect are counted per disposition per allegation.
DFPS/HHSC                                                  3                              Compliance Definitions
                                                                                          Extensions Framework
                                                                                             Revised 04.03.2023
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                         COMMUNITY OF INTEREST PRIVILEGED COMMUNICATIONS



4. Is the activity start date 4 or the activity closure date used to determine whether and
   when a violation is counted as evidence of non-compliance for the purposes of this court
   ordered requirement? (For example, if an investigation intake was received prior to the
   start of the HM episode, but the investjgation dosed with violations issued during the HM
   episode, is this counted as an instance of non-compliance?)

        Violations the operation receives while on HM are reviewed to determine whether the
        activity start date associated with the violation occurred prior to the operation being
        identified for HM. All violations associated with activity start dates that fall within the
        HM episode are considered in the HM compliance evaluation.

        If a minimum standard citation or contract violation in a pattern/trend area is received
        during the HM episode but is associated with an activity that began before the initiation
        of a HM episode, the violation is not considered in the HM compliance evaluation. This
        is because the violation is considered to be attributable to the concerning patterns and
        trends that "led to heightened monitoring" rather than evidence of the operation's non-
        compliance during the HM episode.

        If an operation receives a disposition of Reason to Believe (RTB) during the HM episode,
        regardless of the activity start date, assessment of the operation's response and ability
        to mitigate future risk will be completed before determining whether the operation is
        e ligible to move to post-plan monitoring or be released from HM.


5. Can new tasks be added to the HM plan after the start of the HM Episode, and does a
   new task impact the six months compliance period?

         The HM plan can be amended to modify HM tasks or add new tasks. If it is determined
         the original strategy is ineffective in reducing trend and pattern violations, a
         determination will be made as to whether the modified or new task impacts the six-
         month compliance period based on the date the plan is amended and the type of trend
         in violations.

         If the HM plan amendment is the result of a newly identified trend or pattern, the
         operation's six-month compliance start date will start the day the new task is approved.
         However, if a current task is amended or a new task added to address an original trend
         or pattern, the operation's six-month compliance period would not be affected .

6. What is the timeframe for when the six months of compliance begins and ends?



4For this purpose, "activity start date" refers to an investigation intake date, inspection date, citation by
assessment date, and/or the date a contract violation was assigned.
DFPS/HHSC                                                  4                                      Compliance Definitions
                                                                                                   Extensions Framework
                                                                                                      Revised 04.03.2023
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                      COMMUNITY OF INTEREST PRIVILEGED COMMUNICATIONS



       The six-month compliance period begins once all HM tasks have been submitted by the
       operation and approved by DFPS and HHSC. The "end date" for the six months is
       determined by DFPS and HHSC. As explained (in Q#2) above, when an operation has
       been on HM for at least one year, the operation's history is reviewed to determine
       whether, following the approval of all task submissions, there has been a period of six
       successive months of compliance with minimum standards and contract requirements in
       the pattern/trend areas that led to HM.

7. What happens if there is a period of "six successive months" without the operation
   receiving any violations and then the operation receives a violation in a pattern/trend
   area before moving to post-plan monitoring?

       As stated above, all violations an operation receives while on HM are reviewed and the
       activity start date associated with a violation to determine whether/when the violation
       is counted as evidence of non-compliance is considered. This means that violations
       resulting from an investigation are considered non-compliance on the date the
       investigation is initiated rather than the date the violation was issued. In the scenario
       described, an operation may still be eligible to move to the post-plan monitoring phase
       as long as the investigation associated with the violation was initiated after the
       necessary six-month compliance period. Beyond the six-month requirement, the scope,
       severity and number of any violations received in pattern/trend areas are considered as
       part of the determination of whether it is appropriate for an operation to advance to
       PPM.

            Court Order Requirement #3: "the operation is not out of compliance on any
                       medium-high or high weighted licensing standards. 11

   1. What will the HM team consider when determining whether an operation is "not out
      of compliance" for the purposes of this court ordered requirement?

       An operation will be considered "not out of compliance" for the purposes of this court-
       ordered requirement if the operation corrects, or comes into compliance with, any
       licensing standard violations weighted MH/H received while on HM. This court order
       requirement is construed by the agencies as applying to fill licensing standards weighted
       medium-high or high regardless of whether the standard is in an identified
       pattern/trend category for that operation.

   2. Can an operation receive a medium-high or high weighted minimum standards
      violation while on HM and still move to post-plan monitoring?

       Yes, the operation may still be eligible to move to post-plan monitoring as long as the
       operation first comes into compliance with any MH/H weighted minimum standard

DFPS/HHSC                                       5                              Compliance Definit ions
                                                                                Extensions Framework
                                                                                  Revised 04.03.2023
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                     COMMUNITY OF INTEREST PRIVILEGED COMMUNICATIONS



       violations received while on HM and they have already demonstrated six successive
       months of compliance as explained by Court Order Requirement #2.

   3. If an administrative review (AR} has been requested for a minimum standards
      violation and is pending, must the AR be complete before an operation is considered
      compliant with the violation?

       No, it is not required that an AR be completed before an operation is considered
       compliant. In fact, the operation must come into compliance with all violations in
       pattern/trend areas that led to HM and for all MH/H weighted deficiencies while AR is
       pending.




Heightened Monitoring Plan Extensions and Moving to Post-Plan Monitoring
In order for an operation to move to the post-plan monitoring phase, the operation must:

   •   Be on the HM plan at least one year;
   •   Satisfy the conditions of the HM plan;
   •   Maintain compliance w ith the minimum standards and contract requ irements that led
       to HM for a period of six successive months;
   •   Not be out of compliance with any MH/H weighted licensing standards.

Once an operation has been on the HM plan for one year, an evaluation must be conducted to
determine if all other criteria have been met for the operation to move to the post-plan
monitoring phase. If all criteria are not met, DFPS and/or HHSC will assess a penalty/penalties
and, as appropriate, ~end the HM plan.

Penalties

            Suspension of Placements - Of PS Action

            Imposition of Fines - HHSC Action

            If determined an operation does not meet the criteria for graduation to PPM, the
            CCR HM will issue a violation by Assessment for §749.635(2) or §748.535(2), as
            applicable, which requires the operation's licensed administrator to ensure that the
            operation complies with current HM p/an(s). An administrative penalty will be
            assessed as a result of this violation, in accordance with the Texas Human Resources
            Code Sec. 42.078.

            Suspension or revocation of the Facility's or CPA's license - HHSC Action



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                        COMMUNITY OF INTEREST PRIVILEGED COMMUNICATIONS



               In accordance with the Texas Administrative Code Rule 745.8607, the frequency and
               severity of noncompliance, the degree or immediacy of danger or threat to the
               health and safety of children, and/or any aggravating or mitigating factors will be
               assessed to determine whether a suspension or revocation is most appropriate.
               Termination of Contract- DFPS Action

Extension Reasons

In conjunction with required penalties, an operation's HM plan may be extended beyond one
year for the following reasons:

   •   The operation is not in compliance with the terms of its HM plan.
   •   The operation has not maintained six months of successive compliance w ith the
       minimum standards and contract requirements that led to heightened monitoring. The
       operation cannot be the subject of any investigations during the six-month compliance
       period that result in an RTB or violations related to the pattern/trend categories on the
       HM plan.
   •   The operation is not in compliance with MH/H weighted minimum standards. MH/H
       weighted deficiencies must be in " compliance met" status in CLASS.
   •   If an operation receives an RTB find ing, the operation must be responsive and act
       quickly to address the incident resulting in the RTB and demonstrate the abi lity to
       m itigate future risk. The operation's HM plan may be extended to allow time to
       evaluate whether the operation has implemented processes to mitigate any identified
       risk.

Extension Timeframes

An extension during the Plan in Effect stage will typically be granted for a twelve-month period
as long as the operation continues to engage in the HM process, is actively working to resolve
the patterns and trends that led to HM, and there is no immediate threat to child safety. The
extension t imeframe assigned will be designed to allow for:

   •   an operation to satisfy the conditions of the HM plan,
   •   an operation to achieve six successive months of compliance with the licensing
       standards and contract provisions relevant to the violations that led to HM, and/or
   •   an operation to come into compliance with any MH/H weighted licensing standards and
       contract provisions.

If the operation receives an RTB finding for abuse/neglect during the Plan in Effect stage the
operation' s response and ability to mitigate future risk will be assessed before deciding to move
the operation to PPM . Authorization for an operation to move to PPM can occur when the
operation meets the eligibility criteria. Th is may occur at any point during the extension period.


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                      COMMUNITY OF INTEREST PRIVILEGED COMMUNICATIONS



If an RTB for abuse/neglect occurs during the PPM stage, the PPM stage may be continued for a
three-month period. An assessment of the operation' s response and ability to mitigate future
risk will be completed before allowing the operation to exit HM . This may occur at any point
during the three-month extension period .


            Operations that have Open Investigations at the time they would otherwise
                 meet the Criteria for Advancement to PPM or Release from HM

Previously, HHSC and DFPS have not permitted an operation to move to Post Plan Monitoring
(PPM) or be released from the HM episode when the operation has an open investigation. This
was to ensure an operation was not prematurely released from HM or moved to PPM with an
open investigation that could result in violation(s) related to a pattern/trend category or MH/H
weighted min imum standard(s}, including an RTB. An assessment procedure has been
developed to review all open investigations involving operations on HM that otherwise meet
the specific criteria to move to PPM or be released from HM . The assessment is intended as a
child-safety measure to ensure DFPS and HHSC do not reduce HM oversight at a t ime when
available information about an open investigation suggests oversight reduction is not
appropriate due to serious chi ld safety concerns.

The assessment includes a review and consideration of the following to evaluate risk a.ssociated
with any open investigations:

   •   ls the documented evidence sufficient to conclude there is no serious risk?
   •   Is the documented evidence likely to support a violation under minimum standard or
       other regulatory law or a contract violation? If so, what is the scope and severity of
       each possible violation?

Once the investigation assessments are complete, the findings are discussed, and a
determination is made as to whether it is appropriate for the operation to move to the next
stage of HM. If the determination is made that sufficient information is available about the
open investigation(s) to find that there does not appear to be an unreasonable risk of serious
harm associated with the placement of children at the operation, the operation may be
authorized to move forward to the next phase of HM (either PPM or release from HM episode) .
The determination must be agreed upon unanimously in order for an operation to move
forward while investigations remain open. If there is no unanimous agreement that sufficient
information is ava ilable to make the determination, the decision may be revisited when
additional information about the investigation becomes available, regardless of whether the
investigation(s) rema in open.

The investigation assessment and the resu lt of the assessment w ill be documented in an HM
FITS note in CLASS.


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                           COURT'S EXHIBIT :/-
                                                                  --------
Figure Bo: Information Included in Heightened Monitoring Placement Request for Approved
Placements of PMC Children at Heightened Monitoring Operations, Calendar Year 2022
                   Source: PMC placement data, Placement authorization requests
                                           n = 1,402
                                                                      1,3B4
         1,600                                                        (99%)

         1,200
                         701
           Boo          (50%)
                                                272



                                            -
           400                                 (19%)

             0
                     Approver's        Approver reviewed          Best interest
                   justification for    operation's five-          statement
                      placement           year history
